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                                    Currìculum Vitae
                                   (Current as of 8ßA/17)

                            DANIEL O. JAMISON
                                Dowling Aaron Incorporated
                            8080 North Palm Avenue, Third Floor
                                  Fresno, Califomia 937L1
                                      '(ss9) 432-4s00


SUMMARY:         Civil litigation attomey since 1978 with broad practícal experience in health
                 law and business litigation.


                                        DETAILS
EDUCATION:

  ¡ J.D. - University of California, Davis 1977
                 Member Honors Intramural Moot Court Championshíp Team

  . B.A. in Philosophy - Unþersþ of California, Berkeley 1974
  .   Claremont Men's College 1970    - 1972
ADIVIITTED TO PRACTICE :

  ¡ Califomia State Bar L977, Ba¡ Number 076880
  r United States District Court for Eastern District of California 1977
  ¡ United States District Court forNorthem District of Californía1982
  I   U.S. Court of Appeals, Ninth Circuit 1987

  r United States Supreme Court 2011
  . United States District Court for the Central Dishict of California20l4
EMPLOYMENT:

  ¡   Dowling Aaron Incorporated (formerly known as Dowling, Aaron & Keeler,Inc.),
      Fresno, California
                Preferred Shareholder 2005 .
                 Co-Chair Lìtigation Department 2008-2009
                 Chair, Health Law Section 2007-

  a   Law Offices of Daniel O. Jamison, A Professional Corporatior¡ Fresno, Califomia
                Sole Shqreholder 1.999 -2005
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     ¡    Sagaser, Franson, Jarnison & Jones, Inc. (fotmerly Sagaser, Hansen, Franson & Jamison,
         Inc,), Fresno, Califomia
                        Shareholder 1995-1999

     I    Stammer, McKnight, Barnum & Bailey, Fresno, California 1978-1995
                   Pãrtner 1983-1995

     I   Law Clerk for the Honorable M,D. Crocker, United States District Court for the Eastem
         District of Califomia lg77 - 1978

PROFESSIONAL AFFILIATIONS AND RECOGNITION :

         Fresno County Bar Association
         State Bar of California
         American Bar Association
         Federal Bar Association          .



         Fresno County Judicial Arbitration Panel
         Marquis Who's V/ho in America
                           'Who
         Marquis lVho's          in American Law
         Marquis Who's'Who in the World
         AV@ PreeminentrM Peer Review Rated - Martindâle-Hubble Law Directory**
         EarlyNeutral Evaluation Panel, U.S. District Court, Eastern District of Califomia
         The Martindale-Hubbell Bar Register of Preerninent Lawyers
         Chaner Member, Eastern' District of California Historical Society
         Sustaining Member, Ninth Judicial Circuit Historical Society
         California Society for Healthcare Attomeys
              o  Listecl on Califomia Society for Healthcare Attomeys List of Trained Hearing
                   Officers
         American Health Lawyers Association
         Association of Business Trial Lawyers - San Joaquin Valley
         American Health Lawyers Association ADR Panel
         Fresno County, Tulare County and Kings County Superior Court Mediation Panels
         Fresno County Superior Court Early Neutral Evaluation Panel
         Past Panel Member, American Arbitation Association
         Fresno Magazine, July 2008 - named one of the "Best Attorneys in Fresno"
         Super Lawyers ofNorthem Califomia

PROFESSIONAL ACTIVITIES:

    r Volunteer Attorney Coaóh, California High School Mock Trial Competition
    ¡ 1995-1996 Co-Chair of Fresno County Ba¡ Association Law Ddy Committee
    r Fresno County Annual Law \ty'eek Volunteer Speaker
    ¡ Attorney Volunteer, Center for Advanced Research and Technology Community Justice
         Project, 2016-2017.

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wílh the Martindale-Hubbell certiÍìcation procedures, standards and policies."


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VOLUNTEER ACTMTIEST

      Board of Advisors to President General and Executive Committee, National Society
      Daughters of the Amedcan Revolution (2007-2008)
      State Judge, DAR Outstahding Teacher of American History Contest (2006, 2007)
      Clovis V/est High School African-American Student Union'Real Men Can Cook For
      Education" Scholarship Program 2006, 2008

SELECTED PUBLICATIONS:

  I   Jamison, Daniel O. (2003). Protecting the Healthcqre Fisc in False Claims Act Cases:
      The Role of Commercial. Liabìlíry Insurance in Caltfornia, Florida, Pennsylvaniq, and
      New York. Health Lawyers News, Z (10), 26-32.

      Jamison, Daniel O. (2003). Challenglng lVelfare & Instilutions Code Section 14087.28:
      Can the Selective Provider Contracting Program Lawfuþ Limit Exclusive Contracts to
      Pathologt, Radiologt and Anesthesiolog? Califomia Health Law News,22 (l),14-20.

      Jamison, Daniel O. (2001). Can Hospitals Successfully 9ue Liability Insurers for
      Refusing to Defend or Indemnify Actions Brought Under the Federal or State False
      Claims Act? California Hoalth Law News. 20 (2),37-42

      Op-Ed, "Achieving Consensus on Healthcare Not Easy" The Bakersfreld Californian.
      vt6lt0.
  I   Op-Ed, "Law Can't Provide Remedy Without a Y[/rong" The Fresno Bee. 2/20/10

  I   Op-Ed, "Privacy of Patients is Overregulated'The Frqino Bee, 615110

  I   Op-Ed, "Stark Law: Another Example of Medicine's Hidden Costs" The Bakersfield
      Califomiqr, l0ll2lL0

  ¡   Op-Ed, "Napoleon's Question in a FacebaokAge " I!gj!gæ_I!.W,5/10/12

  t   Op-Ed, "'Obamacare' and the slippery-slope path to tyranny" The Business Joumal,
      6/t5t12

  ¡   Op-Ed, "Pop Quiz: lY'hy study American history?" 'fhe Fresno Bee. l/4113

  t   Op-Ed, "All Children Need to Learn about our Noble Experìment" fbg-!495þg_Egg,
      u22/13

  I   Op-Ed, "Remember Cold.Harborl" The Fresno Bee,8/27/13

      Op-Ed, "What else |urlcs in Affurdable Care Act?" The Fresno Bee,12/13/13

  I   Op-Ed, "Crisis in our Federal Courts" The Fresno Bee,517/14

                                             3                               Daniel O. Jamlson
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  ¡ Op-Ed, "Mental lllness v. Liberty" The Fresno Bee,9/16114
  . Op-Ed, o'Can government lying be constitutional?" Ihg.-EIEsno Bee,llVls
  .   Op-Ed, "Hisîory's universal truths" Thc Fresno Bee,4l30ll5

  . Op-Ed, "Is Obamacare a Mistalc¿?" The Fresno Bee,l/ll/16
  .   Op-Ed,    " 'Tweets' of the Founders" The Frgsno Bee-, 3/20/16
  .   Op-Ed, "Achievíng Consensus on Changes to Obamacare will not be easy" The Fresno
      BSe-,6/12/16

  r Op-Ed, "AI shapes new worlds, abandons the real on¿" The Mercurv News , 7122/16
  . Op-Ed, "Pitchforlæ, clubs and the Constitulion " The Fresno Bee. gllSll6
  .   Op-ed, "Thanl<s to Latin, I'm still 'practícing'14w" The Fresno Bee,12ll/16

  .op.ed,,,WillracialdivisíonsbefataltoAmericanDemocracy?''Ttr@,3l2/I7
  .   Op-ed, "Haw to achieve a lasting, bipartlsan solution to health csre." The Fresno Bee.
      5t19/t7

  t Op-ed, "lfho's to blamefor America's lousy character?" The Frcsno Bee,7l2ll,7

PRESENTATIONS:

      Speaker, Fresno County Women Lawyers         - "Common Sense and Cross-Examination"
      (2016)

  I   Speaker, Central California Legal Services - "Direct and Cross-Examination" (20i6)

  I   Speaker, Fresno Estate Planning Council - "'Obamacare': Mistake orNot?" (2015)

      Speaker, Mid-State Medical Group Management Association (MGMA)          - "The HIPAA
      Security Risk Analysis and Mobile Devices" (Spring 2014)

  I   Speaker, National Renal Physicians Association Annual Conference, Baltimore, MD            -
      "There is a New Sheriff in Town - Taming the \Mild West of HIPAA Compliance"
      (Spring 2014)

  a   Numerous solo (and one as panel member) seminars on Obænacare For Employers in
      Fresno, Tulare, Kings and Kern Counties for Charrbers of Commerce, other
      organizations, and San Joaquin College ofthe Law (2013 and 2014)

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    I     Panelist, American Health Lawyers Association National Teleconference Program -
          "ADR In Credentialing and Peer Review: r0Vhether, When and How ADR Might be
          Helptul." (2005)

    ¡     Speaker, Fresno County Economic Development Corporation Brokers' Breakfast - "The
          Role of Commercial Liability Insurance in the Clean-Up of Ënvironmentally Damaged
          Property: A Case Study" (June 2004)

          Speaker, Real Property Sectíon, Fresno County Bar Association - "Malpractice Risks in
          Failing to Address the Business Client's Liability Insurance Rights" (July 2003)

    I     Speaker, Business Law Section, Fresno County Bar Association - "Malpractice Risks in
          Failing to Address the Business Client's Liability Insurance Rights" (April2003)

          Panelist, Lorman Education Services - "Health Care Corporate and Physician
          Compliance Programs in Califomid' (200 I )

          Sþeaker, Agricultural Law Section of Fresno County Bar Association - "Insuring
          Directors and Officers: The Lindsay Olive Growers Bankruptcy''(2000)

    I     PøtæIìst, California Continuing Education of the Bar               -
                                                                 "Selected Issues in Handling
          Discrimination and Wrongfrrl Termination Cases" (1997)

    I     Panelist, Califomia Society for Healthcare Attorneys - "Emergency Services and
          Uncompensated Care -'trho Must Provide Services? Who Must Pay?" (1988)

COMMUNITY AFFILIATIONS:
    ¡ Past Member, Associates of Valley Children's Hospital
    r CSU-Fresno Bulldog Foundation
    r Fresno City & Corxrty Historical Society Member
    . Fresno County Economic Development Corporation
    r Member, San Joaquin River Parkway and Conservation Trust, Inc.
    . Member, Board of Directors Fresno Business Council,2017
SELECTED REPORTED CASES*"

    Home Builders Asstn of Tulare/Kíngs Counties,Inc. v. City of Lemoore
    185 Cat. Äpp.4th 554 (2010)

        [n this case, Daniel O. Jamison defended the City of Lemoore and its City Council in its
        Ofñcial Capacity against the Horne Builders Association's allegation that multþle impact
        fees (East and West Side Fire, Police, NonQuimby Park Land Acquisition, Park
        Improvement, Municipal Facilities, Community Recreationo and Rcfuse Vehicle and

'* Case so*-"ries are not to be construed as or relied on as legal advice.
                                                          5                      Daniel O. Jamison
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  Container Impact Fees) and two Quimby-related enactments (Quimby Ordinance and
  Quimby Fee in Lieu of Land Dedication) were illegal. The Home Builders Association also
  alleged that the City's collection, adminisuation and accounting for impact fees were
  unlawfi.ll. The trial court found in favor of the City on all issues except for the Park
  Improvement Fee, which the trial court determined was preempted by the Quimby Act. On
  the Home Builders Association's appeal, save for the East Side Fire Impact Fee, the Court
  of Appeal affrrmed the judgment of the trial court.

  Unnamed Physician v. Board of Trustees (2001)
   93 Cal. App.4th 607rll3 Cal. Rptr.2d 309

   In this case, Daniel O. Jamison sought mandamus on behalf of thc Unnamed Physician to
   compel a hospital and its medícal staffto comply with certain of the physician's fair hearing
   rights codified in California Business & Professions Code Sections 809 et seq. The trial
  court summarily denied mandamus. rVhile the case was on appeal, the hospital and medical
  staff complied in large measure with the physician's requests, thereby rendering the appeal
  moot, The Court of Appeal nevertheless noted that compliance with the code sections that
  were in issue before the appeal became moot could be compelled by mandamus without
  exhausting administrative remedies and awarded costs to the physician.

  Major v. Memorial Hospitals Association (1999)
  7t Cal. App.4th 1380,84 Cal. Rptr.2d 5f0

  In this case, three anesthesiologists, one of whom was African-American, sued the hospital
  and others when an exðlusive contract \¡/as awarded to a competing group of
  anesthesiologists who chose not to offer the three plaintiffs subcontracts to continue
  practicing. The th¡ee anesthesiologists alleged violation of the Unruh Civil Rigtrts Act,
  breach of contract, civil conspiracy, and tortious interference with professional business
  relationships. After a uial lasting approximately four months, Daniel O, Jamison
  successfully defended the hospital, a former CEO and a former Chief of Staff on all claims.
  The Court of Appeal affirmed the judgment, expressly reaffirming the Mateo-Vloodbum
  (see below) decísion and rejecting the plaintiffs' assertion that a hospital has a legal
  obligation to offer an incumbent physician a position in the closed department.

  Mateo-Woodburn v. Fresno Community Hospital (1990)
  22l.Cal.App.3d 1169,270 Cal. Rptr. 894

  Daniel O. Jamison successfully represented Fresno Community Hospital and certain of its
  offìcers in this action brought by several anesthesiologists to enjoin Fresno Community
  Hospital from granting an exclusive contract for the operation of its anesthesia services.
  The physicíans also sought damages. The case established that a departncent of anesthesia
  can be reorganized to the exclusion of staff anesthesiologists when the reorganization is not
  based on the competency, qualifications, or character of the excluded physicians, but is
  instead directed at arganizational deficiencies that are repugnant to high quallty patientbare.




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      Paredes v. County ofFresno (1998)
      203 Cal.App.3d l,249 CaL Rptr.593

      Daniel Jamison represented,the County of Fresno in this action by certain citizen taxpayers
      to compel the county to take action against operators of small public water systems that
      were contaminated with DBCP above the State's informal "action level" of I part per
      bitlion. The Court of Appeal affirmed the court's order granting summary judgment for the
      county, holding that the "action level" was not an enforceable maximum safe drinking water
      standard and that Fresno County was othetwise acting lawfully.

      Madera Community Hospital v. County of Madera (1984)
      155 Cal.App,3d 136, 201 Cal.Rptr. 768

      Daniel Jamison successfully appealed the trial court's refusal to grant Madera Communþ
      Hospital's petition for a Writ of Mandamus commanding Madera County to adopt a
      program for indigent healthcare under Welfare and Institutions Code Section 17000. The
      case established that private hospitals have standing to enforce a county's obligation to
      provide healthcare to indigents. Madera County ultimately was ordered to adopt an indigent
      healthcare progftim that took Madera Community Hospital into account. A long-lasting
      contract satisfactory to both'parties was then entered into.

      City of Fresno v. Frampton (1983)
      560 F. Supp.31(8.D. Cal. 1983)

      Daniel Jamison represented Fresno-Merced Counties Legal Services, Inc., and certain of its
      attorneys in a suit for malicious prosecution brought against them by the City of Fresno and
      certain of its police officers. The court granted the defendants' motion to dismiss for lack of
      federal subject matter jurisdiction, noting that federal jurisdiction is not present in a suit for
      malicious prosecution merely because the city and police offrcers were required to show thæ
      defendants lacked probable cause to sue them under federal law.

      Turpin v. Sortini (f982)
      3l Cal.3d 220,182 Cal. Rptr.337
     In this historical case, Daniel O. Jamison obtained from the Califomia Supreme Court under
     Chief Justice Rose Bird a severe restriction on the amount of damages resoverable against
     healthcare providers in so-called wrongful life lawsuits. Under this case, Califomia law
     potentially permitted a child whose physician had failed to diagnose a hereditary defect in
     an older sibling to sue for millions of dollars in general damages on the ground that the
     younger sibling, who suffered the same hereditary defect, would not have been conceived
     by the parents had they known of the hereditary defect. This case eliminated exposure to
     such damages for these types of cases,




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                                                   7                                  Daniel O. Jamison
